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Exhibit 123

July 23, 2024 Notice
Delivery Confirmation
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From: TrackingUpdates@fedex.com

To: Lori Temple

Subject: FedEx Shipment 777565447077: Your package has been delivered
Date: 7/25/2024 5:54:00 PM

cc:

BCC:

Message:

Warning: External email, use care with links & attachments

Hi. Your package was
delivered Thu, 07/25/2024 at
4:44pm.

Delivered to 10805 OLD MILL RD, OMAHA, NE 68154
Received by U.LIESER

OBTAIN PROOF OF DELIVERY
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How was your delivery ?

wwe

TRACKING NUMBER

FROM

TO

SHIP DATE

DELIVERED TO
PACKAGING TYPE

ORIGIN

DESTINATION

SPECIAL HANDLING
NUMBER OF PIECES
TOTAL SHIPMENT WEIGHT

SERVICE TYPE

7177565447077

SPARTA Insurance Holdings, Inc
5 Batterson Park Road

3rd Floor

FARMINGTON, CT, US, 06032

Pennsylvania Insurance Company
Jeffrey A. Silver

10805 OLD MILL RD

OMAHA, NE, US, 68154

Tue 7/23/2024 06:04 PM
Shipping/Receiving

FedEx Envelope
FARMINGTON, CT, US, 06032
OMAHA, NE, US, 68154

Deliver Weekday

0.50 LB

FedEx 2Day®
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Easy options for your
next shipment

There’s no need to weigh packages
or calculate shipping costs with
FedEx One Rate®. Enjoy an easy
shipping process with predictable
pricing and complimentary flat-rate
packaging options.

EXPLORE FEDEX ONE RATE

FOLLOW FEDEX

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(=i Please do not respond to this message. This email was sent from an unattended mailbox.
This report was generated at approximately 4:53 PM CDT 07/25/2024.

All weights are estimated.

To track the latest status of your shipment, click on the tracking number above.

Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see
the FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back

Guarantee, or contact your FedEx Customer Support representative.

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Thank you for your business.
